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                         UNITED STATES DISTRICT COURT

                FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,           )
                                    )                1:08-CR-00361 OWW
                        Plaintiff,  )
                                    )                ORDER CONTINUING
            v.                      )                SENTENCING HEARING
                                    )
THAI HOANG NGUYEN,                  )
                                    )
                        Defendant.  )
____________________________________)

       This matter having come before the Court on the Stipulation of the parties to continue

the sentencing hearing of defendant Thai Hoang Nguyen which is currently scheduled on

September 14, 2009 to October 19, 2009, and good cause appearing therefore,

       IT IS HEREBY ORDERED that the sentencing hearing in this matter is continued

from September 14, 2009, to October 19, 2009, at 1:30 p.m.

       IT IS SO ORDERED.

Dated: August 7, 2009                            /s/ Oliver W. Wanger
emm0d6                                      UNITED STATES DISTRICT JUDGE
